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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

______________________________
LILISA CANTON                  :          Case No. 2:14-cv-06815-MMB
      Plaintiff                :
                               :
              vs.              :
                               :
PORTFOLIO RECOVERY             :
ASSOCIATES, INC.               :
      Defendants               :
______________________________:

                        NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that Plaintiff, LILISA CANTON, pursuant to Rule 41(a)(1)(i)
of the Rules of the United States District Court, hereby dismisses the action captioned above
against PORTFOLIO RECOVERY ASSOCIATES, INC., with prejudice. Each party is
responsible for their own attorney’s fees.


                                                  BY: _/s/Brent F. Vullings_
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